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       2005R00840
       BV/gr

                                                         UNITED STATES DISTRICT COURT
                                                         DISTRICT OF NEW JERSEY
       UNITED STATES OF AMERICA                   :      Hon. Stanley R. Chesler, U.S.D,J.
                       Plaint j7                  :     Criminal No. 08-327
                       v.                      :        CONSENT JUDGMENT AND
                                                        PREUMINARY ORDER OF
       ANDREW MEROLA                                    FORFEITURE
       a/k/a “Andrew Knapik” et al.

                   Defend anL


            WHEREAS, on May 2, 2008, the United States filed
                                                                       an indictment,
      Criminal No. 08-327, against Andrew Merola a/k/a “And
                                                            rew Knap            ik”
      (hereinafter “Defendant”), which charges, among other thing
                                                                         s, Racketeering
      Conspiracy in violation of 18 U.S.C. § 1962(d) and Rack
                                                                     eteering in violation of
      18 U.S.C. § 1962(c) arid 2; and
            WhEREAS, on Januaty 5, 2010, the Defendant pled
                                                                        guilty to one count
      of Racketeering Conspiracy, in violation of 18 U.S.
                                                               C. § 1962(d) of the
      Indictment; and

            WHEREAS, pursuant to 18 U.S.C.
                                                      § 1963(a)(3), a person convicted of an
     offense in violation of 18 U.S.C.
                                         § 1962, shall forfeit to the United States, any
     property, constituting or derived from, any proc
                                                           eeds which the person
     obtained, directly or indirectly, from racketeering
                                                             activity or unlawful debt
     collection; and
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            WHEREAS, pursuant to a Plea Agreement dated December 10, 2009, the
      United States and the Defendant agree to the forfeiture of among other things,

      the following property pursuant to 18 U.S.C. § 1963:

                   The sum of $100,000.00 which has been paid in full from the
                   following two checks:

                   (a)   Nations Title Agency Inc. NLS, Escrow Account check
                         number 01278982, in the amount of $50,007.14, resulting
                         from the refinance of property located at 14 Fay Drive, East
                         Hanover, New Jersey 07936-3053; and

                  (b)    Saivatore P. Alfano, P.A., Trust Account check number 1251,
                         in the amount of $49,992.86,

      (collectively the “S 100,0009 as substitute res for property located at 14 Fay

      Drive, East Hanover, New Jersey 07936-3053, more particularly described as:
      Block 38.05, Lot 47 of the Municipality of East Hanover Township, on the Tax
      Map of East Hanover Township New Jersey; and
           WHEREAS, by virtue of the above, the United States is now entitled to
     possession of the Property; and

           WHEREAS, the Defendant acknowledges that the Property constitutes or
     is derived from, any proceeds obtained, directly or indirectly, from his

     racketeering activity as described in the Indictment, in violation of 18 U.S.C.
                                                                                        §
     1962, or represents substitute assets, and that the $100,000 is therefore

     subject to forfeiture to the United States pursuant to 18 U.S.C.
                                                                        § 1963(a)(3);
     and




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           wUsREAS, the Defendant having agreed to forfeit the $100,000, waives

     all interests in and claims to the $100,000, and hereby consents to the

     forfeiture of the $100,000 to the United States; and
           WHEREAS, the Defendant:
                 (1)    Agrees to consent promptly upon request to the entry of any

     orders deemed necessary by the Government or the Court to complete the

     forfeiture and disposition of the $100,000;

                 (2)    Waives the requirements of Federal Rules of Criminal

     Procedure 32.2 and 43(a) regarding notice of forfeiture in the charging

     instrument, announcement of the forfeiture In the Defendant’s presence at

     sentencing, and incorporation of the forfeiture in the Judgment;
                 (3)    Acknowledges that he understands that forfeiture

     of the $100,000 will be part of the sentence imposed upon the Defendant in

     this case and waives any failure by the Court to advise the Defendant of this,
     pursuant to Federal Rule of Criminal Procedure 1 1(b)(1)(J), during the plea

     hearing;
                  (4)   Will, pursuant to Rule 32.2fb)(3), promptly consent to the

     finalization of the order of forfeiture before sentencing if requested by the
     Government to do so;
                  (5)   Waives, and agrees to hold the United States and its

     agents and employees harmless from any and all claims whatsoever in

     connection with the seizure, forfeiture, and disposal of the $100,000 described
     above;
                  (6)   Waives all constitutional and statutory challenges

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     of any kind to the forfeiture of the $100,000 pursuant to this consent
     judgment;
                  (7)    Agrees to cooperate in resolving third-party claims

     in favor of the United States, and for good and sufficient cause shown;

           It is hereby ORDERED, ADJUDGED, AND DECREED:
           THAT the herein described asset, namely:

                 The sum of $100,000.00 which has been paid in full from the
                 following two checks:

                  (a)    Nations Title Agency inc. NLS, Escrow Account check
                         number 01278982, in the amount of $50,007.14, resulting
                         from the refinance of property located at 14 Fay Drive, East
                         Hanover, New Jersey 07936-3053; and

                  (1,)   Salvatore ‘F. Alfano, P.A., Trust Account check number 1251,
                         in the amount of $49,992.86,

     (collectively the e$100,000) as substitute rca for property located at 14 Fay

     Drive, East Hanover, New Jersey 07936-3053, more particularly described as:
     Block 38.05, Lot 47 of the Municipality of East Hanover Township, on the Tax
     Map of East Hanover Township New Jersey, is hereby forfeited to the United

     States pursuant to the provisions of 18 U.S.C. § 1963, and for disposition in
     accordance with the applicable provisions of Law; and
           THAT pursuant to 18 U.S.C. § 1963(l)(l), the United States shall publish

     notice of this Order and of its intent to dispose of the herein described

     $100,000 In such a manner as the Attorney General may direct, including

     posting notice on the official internet government forfeiture site namely,
     http:/Jwww.forfeiure,gov for at least 30 consecutive days; and


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            THAT pursuant to 18 U.S.C. § 1963(?)(2), any person, other than the

     Defendant, asserting a legal interest in any of the above-listed $100,000 must
     file a petition with the Court within 30 days of the final publication of notice or

     of receipt of actual notice
                          1 whichever is earlier, and state that the petition shall
     be for a hearing to adjudicate the validity of the petitioner’s alleged interest in

     the $100,000; and

           THAT pursuant to 18 U.S.C. § 1963(Z)(3), the petition shall be signed by
     the petitioner under penalty of pejuzy, as established in 28 U.S.C. § 1746, and
     shall set forth the nature and extent of the petitioner’s right, title or interest in
     the forfeited property, the time and circumstances of the petitioner’s

     acquisition of the right, title, or interest in the $100,000, and any additional
     facts supporting the petitioner’s claim and the relief sought; and

           THAT the United States may also, to the extent practicable, provide

     direct written notice to any person known to have alleged an interest in the
     Property that is the subject of this Preliminary Order of Forfeiture, as a
     substitute for published notice as to those persons so notified; and
           THAT the aforementioned forfeited $100,000 is to be held by the
     appropriate United States agency in its secure custody and control until the

     appropriate disposition of said $100,000 by the United States; and

           THAT if no third party claims are received for the aforementioned

     $100,000, it shall be forfeited to United States and shall be in full satisfaction
     of the United States Attorney’s Office’s claim for forfeiture in this action,

     pursuant to 18 U.S.C. § 1963(a)(3), which included (1) All that lot or parcel of
     land, together with its buildings, appurtenances, improvements, fixtures,

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       attachments and easements, located at 14 Pay Drive, East Hanov
                                                                      er,          New
      Jersey 07936..3053, also known as: Block 38.05, Lot 47 of the
                                                                    Municipality of
      East Hanover Township, on the Tax Map of East Hanover Towns
                                                                            hip New Jersey
      (hereinafter j4 Faye Drive”); and (2) All that lot or parcel of
                                                                      land, together     with
      its buildings, appurtenances, improvements, fixtures, attachm
                                                                          ents and
      easements, located at 710 Phoebe Street, Dover, New Jersey
                                                                         08753, also
      known as Lot 11 In Block 724 of the Municipality of Dover Towns
                                                                                 hip, on the
      Tax Map of Toms River Township New Jersey (hereinafter
                                                                    710 Phoebe Street”);
      and

            THAT upon the Entry of the Final Order of Forfeiture, the United
                                                                                     States
      shall file a Release of Notice of Lie Pendens for the properties
                                                                         located at 14 Faye
      Drive and 710 Phoebe Street for which the $100,000 will
                                                                  be forfeited as a
      substitution for said real property based on the facts and circum
                                                                        stances
     pertaining to this criminal action; and

            THAT it is the intent of the United States, pursuant to 18
                                                                           U.S.C. §
     1963(m), to seek forfeiture of any other property of the
                                                              Defend     ant up to the
     value of the described Property above, if the Property or
                                                                 any portion thereof, as
     a result of any act or omission of defendant Andrew Merola
                                                                    a/k/a Andrew
     Knapik or his wife, Maria Merola;

                 (a) cannot be located upon the exercise of due diligen
                                                                           ce;
                 (b) has been transferred or sold to, or deposited with,
                                                                            a third party;
                 (c) has been placed beyond the jurisdiction of the court;
                 (d) has been substantially diminished in value; or



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                   (e) has been corningled with other property which cannot
                                                                                 be
                   divided without ditcu1ty; and
            THAT the United States reserves the right to aniend this
                                                                        Order of
      Forfeiture to Include certain property of the Defendant as
                                                                   substitute property;
      and

            THAT upon adjudication of all third-party interests, this Court
                                                                              will enter
      a Final Order of Forfeiture pursuant to 18 U.S.C.
                                                          § 1953, in which all interests
      will be addressed.


            ORDED this                      day of                      ,   21



                                                 bnorable Stanley R. Chesler
                                                 United States District Judge




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       The undersigned hereby consent
       to the entry and form of this
       Consent Judgment and Order of ?orfe
                                           iture:
       PAULJ. PJSHMAN
       United States Attorney




      B HDAN WTVITSKY                                Dated:
      Assistant United States Attorney
      970 Broad Street, Suite 700
      Newark, New Jersey 07102




                                                   Dated:  ‘0- 1
     SALVATORE T. ALFANO, ESQ,
     55 Washington Street.
     Bloornfield, New Jersey 07003
     Counsel for the Defendant Andrew Merola a/k/a
                                                   Andrew Knapik




                                                    Dated:    0-    -   1
     ANDREW MEROLA a/k/a ANDREW KNAPIK
     Defendant




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